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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION



Carol Carter, et al.,                         )      CASE NO. 1:15 CV 1545
                                              )
                        Plaintiffs,           )      JUDGE PATRICIA A. GAUGHAN
                                              )
                 vs.                          )
                                              )
PJS of Parma, Inc., et al.,                   )      Memorandum of Opinion and Order
                                              )
                        Defendants.           )


          INTRODUCTION

          This matter is before the Court upon Defendants’ Motion for Judgment on the Pleadings

(Doc. 21). This case arises under the Fair Labor Standards Act (“FLSA”). For the reasons that

follow, the motion is GRANTED IN PART AND DENIED IN PART.

          FACTS

          The following facts are taken from Plaintiffs’ Amended Complaint. Defendants PJS of

Parma, Inc. and Lorraine Stancato (collectively, “defendants”) own and operate Stancato’s

Italian Restaurant, which maintains a dining room and also engages in off-site catering. Plaintiffs

worked for defendants as servers in their dining and banquet rooms and at off-site catering

events.
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       According to plaintiffs, prior to January 26, 2014, defendants paid their servers working

in their banquet rooms and at off-site catering events (“Banquet Servers”) less than the minimum

wage. Defendants then added an additional sum to the Banquet Servers paychecks as “Banquet

Tips” to bring their total pay to a fixed sum, for example, $10.00 per hour. Plaintiffs additionally

allege that defendants charged banquet customers a mandatory gratuity. When customers

inquired about the charge, defendants told the Banquet Servers to tell customers that the charge

covered gratuity. Plaintiffs claim, however, that the Banquet Servers did not receive the entire

mandatory gratuity or additional tips left by the customer and that defendants engaged in tip

pooling and sharing arrangements by requiring the Banquet Servers to share a percentage of their

tips with the house or with employees who do not regularly receive tips.

       Plaintiffs acknowledge that defendants ceased applying a tip credit to the Banquet

Servers’ wages as of January 24, 2014. But they allege that Defendants continued to charge a

mandatory gratuity to banquet customers and continued to require the Banquet Servers to tell

customers that the charge covered gratuity. Plaintiffs allege that customers regularly left

additional tips separate from the mandatory gratuity and that defendants would keep the

additional tips for themselves or subject the additional tips to tip pooling. Finally, plaintiffs

allege that whenever defendants considered an additional tip to be excessive, they attempted to

convince customers to lower the amount of the tip. Defendants would then inform the Banquet

Servers that the customers had changed their minds about leaving the tip, but, in reality,

defendants retained the tips.

       Plaintiffs bring four claims in their Amended Complaint. Count I is a claim for failure to

pay minimum wages under the FLSA and Ohio law; Count II is a claim for conversion; Count III


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is a claim for unjust enrichment; and Count IV is a claim for tortious interference with business

relations.1 Defendants now move for judgment on the pleadings with respect to plaintiffs’ state

law claims. Plaintiffs oppose the motion.

       STANDARD OF REVIEW

       Federal Rule of Civil Procedure 12(c) provides, “After the pleadings are closed but

within such time as not to delay the trial, any party may move for judgment on the pleadings.”

Where a motion for judgment on the pleadings is based on the argument that the complaint fails

to state claim upon which relief may be granted, it is judged under the same standard of review

as a Rule 12(b)(6) motion. Morgan v. Church’s Fried Chicken, 829 F.2d 10, 11 (6th Cir. 1987).

       The allegations of the complaint must be taken as true and construed liberally in favor of

the non-moving party. Lawrence v. Chancery Court of Tenn., 188 F.3d 687, 691 (6th Cir. 1999).

To survive a motion for judgment on the pleadings, the complaint’s “[f]actual allegations must

be enough to raise a right to relief above the speculative level on the assumption that all the

allegations in the complaint are true.” Assn. of Cleveland Fire Fighters v. Cleveland, 502 F.3d

545, 548 (6th Cir.2007) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 127 S. Ct. 1955, 167

L.Ed.2d 929 (2007)). Thus, “[o]nly a complaint that states a plausible claim for relief survives a

motion to dismiss.” Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009).

       “In practice, a. . .complaint must contain either direct or inferential allegations respecting

all the material elements to sustain a recovery under some viable legal theory.” Scheid v. Fanny

Farmer Candy Shops, Inc., 859 F.2d 434, 436 (6th Cir. 1988) (quoting Car Carriers, Inc. v. Ford



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         Plaintiffs moved for conditional certification under the FLSA with respect to
         Count One, which this Court granted. (See Doc. 24).

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Motor Co., 745 F.2d 1101 (7th Cir. 1984)). Legal conclusions and unwarranted factual

inferences are not accepted as true, nor are mere conclusions afforded liberal review. Fingers v.

Jackson-Madison County General Hospital District, No. 95-5903, 1996 WL 678233 (6th Cir.

Nov. 21, 1996).

       ANALYSIS

       1.       Conversion

       In Count II, plaintiffs allege that defendants wrongfully converted money belonging to

the Banquet Servers by keeping the extra tips that customers left in addition to the mandatory

gratuity that defendants charged them on their bills. Defendants argue that the conversion claim

must be dismissed because plaintiffs cannot identify the specific money that forms the basis of

the conversion claim as required by Ohio law. The Court agrees.

       This Court has previously recognized that “[i]n [Ohio], an action for conversion of

money will only lie ‘if identification is possible and there is an obligation to deliver the specific

money in question.’” Prim Securities, Inc. v. McCarthy, 2006 WL 2334836 (N.D. Ohio Aug. 10,

2006) (granting summary judgment on plaintiff’s conversion claim for money) (quoting Haul

Transp. of Va., Inc. v. Morgan, CA 14859, 1995 WL 328995 at *3 (Ohio Ct. App. June 2,

1995)). As the Haul court explained:

       An action alleging conversion of cash lies only where the money involved is
       “earmarked” or specific money capable of identification, e.g., money in a bag,
       coins or notes that have been entrusted to the defendant’s care, or funds that have
       otherwise been sequestered, and where there is an obligation to keep intact and
       deliver this specific money rather than to merely deliver a certain sum.

Haul, 1995 WL 328995 at *3 (quoting Gray v. Liberty Nat. Life Ins. Co., 623 So. 2d 1156, 1160

(Ala. 1993)).


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       In Edwards v. Prime, Inc., the Eleventh Circuit dismissed a claim for conversion in a

situation similar to the one before this Court. 602 F.3d 1276 (11th Cir. 2010). There, former

restaurant employees brought a conversion claim against the owner of the restaurant, arguing

that he unlawfully kept tips meant for them. The plaintiffs alleged that the defendant “converted

specific and identifiable amounts of money” and that “the amounts taken [were] and [are]

identified by, calculated and based on tips and gratuities paid to servers.” Id. at 1304. Applying

Alabama law–which is identical to Ohio law–the court found that such allegations were

insufficient to state a claim because “an action for the conversion of money requires that the

money itself, not just the amount of it, ...be specific and capable of identification.” The basis of

the plaintiffs’ claim was that they “wante[ed] their tips returned..” Id. at 305. But, as the court

noted, “it would be implausible to suggest, and they have not alleged, that [defendants] have

those particular tips stored in a bag somewhere, much less segregated in a fashion that would

permit matching them up to each individual plaintiff.” Id. The court further rejected the

plaintiffs’ argument that the money tips had been “earmarked” because the servers had to fill out

tip reports: “[Plaintiffs’] argument confuses the method by which the amount was calculated

with the requirement that the money itself be specific and identifiable.” Id.

       Here, plaintiffs argue that their conversion claim survives because they have pled that

“Defendants had an obligation to segregate, keep intact, and deliver to Plaintiffs ... the specific

money from the ... tips and gratuities” and that the tips and gratuities “w[ere] money that was

either earmarked or is specific money capable of identification.” Am. Compl. ¶¶ 124, 128. In

ruling on a motion for judgment on the pleadings, however, the Court is “not bound to accept as

true a legal conclusion couched as a factual allegation.” Ashcroft v. Iqubal, 556 U.S. 662, 678


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(2009). “While legal conclusions can provide the framework of a complaint, they must be

supported by factual allegations.” Id. at 664. Plaintiffs’ bare legal conclusions are insufficient to

state a claim for conversion. Although they argue that defendants were obligated to segregate

and keep intact the specific money from tips that plaintiffs received, plaintiffs have not alleged

facts to support that they actually did so. For example, plaintiffs have not alleged that the money

was stored in a bag or kept in a way where specific tips could be matched with specific Banquet

Servers. Moreover, plaintiffs’ allegations that defendants required the Banquet Servers to

participate in a “tip pool” and that defendants retained some of the tips themselves belie their

allegation that the money at issue is identifiable. Similarly, while plaintiffs allege that the money

was “earmarked,” no factual allegations support this. At most, plaintiffs would be able to show

that the Banquet Servers are entitled to a “certain sum,” but not the specific money that forms the

basis of this claim. Under Ohio law, this is insufficient to state a claim for conversion. See Haul,

1995 WL 328995 at *3. Thus, defendants’ Motion for Judgment on the Pleadings is granted with

respect to Count II.

       2.      Tortious interference

       In Count IV, plaintiffs allege that defendants tortiously interfered with the Banquet

Servers’ business relationship with customers by dissuading customers from leaving additional

tips or convincing them to leave substantially lower tips than the customer intended. Defendants

move to dismiss the tortious interference claim for two reasons: (1) plaintiffs do not have a

business relationship with defendants’ guests and (2) defendants were an essential party to the

business relationship that plaintiffs allege existed between the Banquet Servers and the banquet

customers. As discussed below, the Court agrees that defendants were not a third-party to the


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relationship that plaintiffs allege existed between them and defendants’ customers.

       To state a claim for tortious interference with business relations, a plaintiff must allege:

(1) a business relationship; (2) the tortfeasor's knowledge of the relationship; (3) an intentional

interference causing a breach or termination of the relationship; and (4) damages. Dolan v.

Glouster, 173 Ohio App. 3d 617, 630 (Ohio Ct. App. 2007). Moreover, “[i]t is axiomatic that the

wrongdoer must be a non-party to the contract.” Castle Hill Holdings, LLC v. Al Hut, Inc.,

(citing Kenty v. Transamerica Premium Ins., 72 Ohio St. 3d 415, 418 (1995); see also Dolan v.

Glouster, 173 Ohio App. 3d 617, 630 (Ohio Ct. App. 2007) (“A person cannot tortiously

interfere with his own business relationship.”).

       Here, there is no dispute that defendants had a direct economic interest in their

relationship with their own customers. Nor can there be any dispute that defendants were an

essential party to the allegedly injured business relationship between the Banquet Servers and the

banquet customers–without defendants, the Banquet Servers would have had no relationship at

all with the customers. Thus, plaintiffs’ conclusory allegation that the Banquet Servers had an

“entirely separate and distinct business relationship as between Defendants and the customers”

cannot save their claim. (Am. Compl. ¶ 141). In dismissing a similar tortious interference claim

by the former restaurant employees in Edwards, the Eleventh Circuit explained:

       Because a restaurant’s proceeds depend on its patrons and its costs depend
       heavily on its payroll, the defendants had an obvious economic interest in ... the
       employee-patron relationship .... [Defendants] were essential parties to the
       business relationship.... They were involved in creating th[e] relationship[];
       without them the plaintiffs would have had no relationship with the patrons of the
       restaurant.

Edwards, 602 F.3d at 1302-03.

       Thus, because defendants were not a third-party to the alleged business relationship

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between the Banquet Servers and the banquet customers, Count IV is dismissed.2

       3.      Unjust enrichment

               a.      Preemption

       Defendants move to dismiss the 2012-2014 Banquet Servers’ claim for unjust enrichment

because it is duplicative of, and dependent upon, their FLSA claim. They argue that the unjust

enrichment claim “is based on the same underlying theory as Plaintiffs’ FLSA claim–that

Defendants engaged in unlawful tipping practices ...and failed to pay Plaintiffs tips that Plaintiffs

assert belong to them.” They maintain that plaintiffs cannot establish their unjust enrichment

claim without relying on a server’s rights to retain tips, a right that arises solely from the FLSA.

For the following reasons, the Court finds that the unjust enrichment claim is not preempted.

       A federal statute can preempt state law in three ways: (1) express preemption; (2) implied

preemption, which occurs when Congress occupies the field so pervasively that it leaves no


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         At least one court has held that no business relationship exists at all between a
         server and a customer:

         “Plaintiffs simply had no business relationship with Defendant’s
         customers. The guests of the restaurant were not Plaintiffs’ customers,
         they were Defendant’s customers. Defendant owned and operated its
         restaurant to serve its customers. Defendants hired Plaintiffs to serve those
         customers subject to Defendant’s direction and control ... Plaintiffs, by
         doing their jobs, did not have a business relationship with any customer.
         Having no business relationship with Defendant’s customers, Plaintiffs
         cannot establish their claim.” Barquin v. Monty’s Sunset, L.L.C., 975 F.
         Supp. 2d 1309 (S. D. Fla. 2013). Defendants unquestionably were an
         essential party to the business relationship at issue, so the Court need not
         go so far as to hold that the Banquet Servers had no relationship at all with
         the customers. The Court notes, however, that the court’s reasoning in
         Barquin supports the conclusion that defendants were not a third-party to
         the relationship at issue.



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room for the states to supplement it; and (3) conflict preemption, which occurs when the federal

law is in “irreconcilable conflict” with state law. See Sardisco v. Direct Import Home Decor,

Inc., 2014 WL 3014369 at * 3 (N.D. Ohio July 2, 2014) (citations omitted). As courts have

recognized, express and implied preemption are inapplicable to FLSA; thus, the question is

whether the unjust enrichment claim brought on behalf of the 2012-2014 Banquet Servers is

barred by conflict preemption. See Woodall v. DSI Renal, Inc., 2012 WL 1038626 at * 4 (citing

Anderson v. Sara Lee Corp., 508 F.3d 181, 191 n.10 (4th Cir. 2007). An actual conflict arises

when state law “stands as an obstacle to the accomplishment and execution of the full purposes

and objectives of Congress.” See Hillsborough Cnty. v. Automated Med. Labs, Inc., 471 U.S.

701, 721 (1985).

       This Court recently addressed the issue of FLSA preemption in Sardisco. There, the

Court noted that “the question of whether the FLSA actually preempts any state law causes of

action is unsettled. The Sixth Circuit has not yet spoken on whether the FLSA can preempt state

law claims and there are divergent answers from the other Courts of Appeals.” 2014 WL

3014369 at 3 (citing cases). In deciding whether FLSA preempted the plaintiff’s fraudulent

inducement claim3, this Court noted that the FLSA contains a savings clause that expressly

permits states to fashion their own hour and wage statutes. Id. Although the statute was not

applicable to the plaintiff’s claim, the Court found that it evinced Congress’s intent that the

FLSA “should be seen to supplement not supplant state law.” Id. (citing 29 U.S.C. § 217(a)).



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         The plaintiff alleged that defendants fraudulently induced plaintiff to move to
         Cleveland and accept employment with the defendants by promising him that he
         would be paid substantially more than they actually paid him. Sardisco, 2014 WL
         3014369 at *1.

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 Ultimately, the Court held that FLSA did not preempt the fraudulent inducement claim at issue,

 finding that while the plaintiff’s FLSA claim and his fraudulent inducement claim shared many

 of the same facts, “the elements of the claims are decidedly different and th[e] claim is not

 duplicative of a FLSA [claim].” Id.

        This Court’s conclusion in Sardisco is consistent with the decisions of the majority of

 district courts in the Sixth Circuit who have analyzed this issue. See, e.g., Woodall, 2012 WL

 1038626 at * 4 (noting that “[d]istrict courts in this circuit are ... divided [on the issue of whether

 FLSA preempts state law claims], although the balance of authority weighs against preemption”

 and holding that plaintiff’s breach of contract and unjust enrichment claims were not

 preempted); Monahan v. Smyth Automotive, Inc., 2011 WL 379129 (S.D. Ohio Feb. 2, 2011)

 (“unjust enrichment, while possibly based on many of the same facts, is not a claim duplicative

 of an FLSA claim...a claim for unjust enrichment simply does not interfere with or create any

 obstacles to the FLSA scheme, and the two theories are not in conflict”); Carter v. Jackson-

 Madison County Hosp. Dist., 2011 WL 1256625 *11 (W.D. Tenn. March 31, 2011) (unjust

 enrichment claim not preempted).

        Like these other courts, this Court finds that the plaintiffs’ claim for unjust enrichment is

 not an obstacle to the FLSA scheme and that it is therefore not in conflict with the statute.

 Liability under FLSA is available when a plaintiff can establish an employer-employee

 relationship, that the plaintiff was engaged in FLSA protected activities, and that the defendant

 did not pay the required minimum wage or overtime pay. Sardisco, 2014 WL 3014369 at *3. In

 contrast, to state a claim for unjust enrichment, a plaintiff must allege: “(1) a benefit conferred

 by a plaintiff upon a defendant; (2) knowledge by the defendant of the benefit; and (3) retention


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 of the benefit by the defendant under circumstances where it would be unjust to do so without

 payment (‘unjust enrichment’).” Filo v. Liberato, 987 N.E.2d 707 (Ohio Ct. App. 2013).4

        Here, in support of their unjust enrichment claim, plaintiffs allege that they conferred a

 benefit upon defendants with defendants’ knowledge by giving excellent service to the

 customers, which caused those customers to leave additional tips and gratuities and created

 repeat business for Defendants. They further allege that “[t]here was a clear understanding

 between Defendants, Plaintiffs, the members of the class, and the customers that the additional

 tips and gratuities ... belonged solely to Plaintiffs and the members of the Class, and there was no

 arrangement by which Plaintiffs and the members of the Class agreed to turn over those tips and

 gratuities to Defendants.” Finally, they allege that, because plaintiffs were the intended

 recipients of the additional tips and gratuities, defendants’ retention of the additional tips and

 gratuities is unjust. These allegations demonstrate that plaintiffs’ unjust enrichment claim is


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          Defendants argue that Sardisco and Woodall are inapplicable because they did not
          involve tipping:

          “Unlike the Plaintiffs in this case, the collective plaintiffs in Sardisco did
          not allege that they were tipped employees, that they ever received tips
          from customers, or that they were even paid with a tip credit. Thus, neither
          the nature of the collective plaintiffs’ FLSA claims nor Mr. Sardisco’s
          state law claims are similar in any respect to the nature of the FLSA or
          Common Law Claims asserted by the 2012-2014 Banquet Servers in this
          case. As a result, the Sardisco Court’s analysis as to whether Mr.
          Sardisco’s fraudulent inducement claim was preempted by his FLSA
          claim...is irrelevant to the preemption issue facing this Court.” (Defs.’
          Reply Br. at 6); (see also id. at 7) (raising similar point with respect to
          Woodall). Defendants, though, have articulated no reason why the
          preemption analysis should differ simply because this case involves
          tipping. Their conclusory argument is insufficient to convince the Court
          that Sardisco is inapplicable.



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 neither duplicative of, nor dependent on, their FLSA claim. While the unjust enrichment claim

 may be based on many of the same facts as their FLSA claim, the two do not share the same

 elements or necessarily require the same relief. Thus, plaintiffs may assert both claims.

         Moreover, under Rule 8, “a party may state as many separate claims or defenses as it has,

 regardless of consistency.” Fed. R. Civ. P. 8(d)(3). As several courts have held, a finding of

 preemption at the pleading stage would run counter to Rule 8. See, e.g., Monahan, 2011 WL

 379129 at *5. At this stage of the litigation, the Court need not determine whether there is, in

 fact, a viable FLSA claim that might destroy a claim for equitable relief.5 Id. Rather, at this stage,

 plaintiffs’ only obligation is to allege sufficient facts “to raise a right to relief above the

 speculative level.” Twombly, 127 S. Ct. at 1974. Plaintiffs’ allegations on their unjust enrichment

 claim are sufficient to show that they have a plausible claim for relief.

         For these reasons, the Court finds that plaintiffs’ unjust enrichment claim on behalf of the

 2012-2014 Banquet Servers is not preempted.

                 b.      Merits

         Finally, defendants argue that, to the extent the unjust enrichment claim is asserted on

 behalf of Banquet Servers employed after January 2014, the claim fails because plaintiffs cannot

 establish that defendants’ retention of the service charges or tips was “unjust.” Defendants assert

 that these Banquet Servers were not paid with a tip credit, so, under FLSA, defendants have the

 right to retain the entire amount of any tip from Stancato’s banquet customers. As support,



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          Defendants obviously do not concede at this point in the litigation that they
          violated FLSA, and in fact, denied in their Answer that they paid the pre-January
          2014 Banquet Servers at the “tipped employee minimum wage” and that they
          used a tip credit for the Banquet Servers’ wages.

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 defendants cite to Cumbie v. Woody Woo, Inc., 596 F.3d 577, 581 (9th Cir. 2010), where the

 Ninth Circuit rejected the employees’ argument that they were entitled to all of their tips even

 though the defendants did not use a tip credit. Because the plaintiffs were paid an hourly wage of

 at least the minimum wage, they could not demonstrate a legally cognizable ownership right in

 the tips that they alleged were unlawfully retained or converted by their employer. Id.

        Plaintiffs, however, argue that the tips are the property of the Banquet Servers, whether

 or not Defendants used a tip credit. In support, they cite Williams v. Jacksonville Terminal Co.,

 315 U.S. 386, 388 (1942). In Williams, the Supreme Court explained that, “[i]n businesses where

 tipping is customary, the tips, in the absence of an explicit contrary understanding, belong to the

 recipient.” Id. at 397. The Court noted, though, that “[w]here ... an agreement is made by which

 the employee agrees to turn over the tips to the employer, in the absence of statutory

 interference, no reason is perceived for its invalidity.” Plaintiffs argue that, under Williams, the

 question of to whom the tips belonged is one of fact and that the allegation that the post-January

 2014 Banquet Servers were the intended recipients of the tips and that there was no agreement to

 the contrary with defendants are sufficient to survive dismissal. (See Defs.’ Br. at 9-10).

        Plaintiffs further note that defendants’ position is contrary to a Department of Labor

 regulation, issued in 2011, stating that tips are the property of the employee, even when the

 employer has not taken a tip credit:

        Tips are the property of the employee whether or not the employer has taken a tip
        credit under section 3(m) of the FLSA. The employer is prohibited from using an
        employee’s tips, whether or not it has taken a tip credit, for any reason other than
        that which is statutorily permitted in section 3(m): As a credit against its
        minimum wage obligations to the employee, or in furtherance of a valid tip pool.

 29 C.F.R. § 531.52.


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        After defendants filed their initial motion, the Ninth Circuit issued a decision holding that

 29 C.F.R. § 531.52 was a valid exercise of the Department of Labor’s authority under Chevron,

 U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837 (1984). See Oregon Restaurant and

 Lodging Assoc. v. Perez, 2016 WL 706678 (9th Cir. Feb. 23, 2016).6 In doing so, the Court

 recognized that Cumbie’s analysis was based on statutory silence–at the time Cumbie was

 decided, neither the FLSA nor the Department of Labor’s regulations interpreting the statute

 regulated the tip pooling practices of employers who do not take a tip credit. Id. at *8.

        In their reply brief, defendants cite several district court opinions outside of the Ninth

 Circuit that have held 29 C.F.R. § 531.52 to be invalid under Chevron and urge this Court to

 follow these opinions. Not until their reply brief did defendants fully address the issue of 29

 C.F.R. § 531.52’s validity, so plaintiffs have not had an opportunity to respond to this issue.

 Moreover, while the district court opinions that defendants cite in their reply brief were not

 affected by the Ninth Circuit’s decision in Oregon Restaurant and Lodging, the Court notes that

 at least some of these opinions expressly relied on Cumbie. Because both parties have not fully

 briefed this complex issue and because of the recent flux in the case law, the Court declines at

 this time to reach a decision on the validity of 29 C.F.R. § 531.52 under Chevron. Instead, the

 Court will accept further briefing on this question. After the parties have fully briefed the issue,

 the Court will render its decision on whether plaintiffs have stated a claim for unjust enrichment

 on behalf of the post-January 2014 Banquet Servers.




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          Defendants acknowledge the Ninth Circuit’s decision in their reply brief.

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        CONCLUSION

        For the foregoing reasons, Defendants’ Motion for Judgment on the Pleadings (Doc. 21)

 is GRANTED IN PART AND DENIED IN PART. Plaintiffs’ claims for conversion and tortious

 interference are dismissed. Defendants’ motion is denied insofar as it is directed at plaintiffs’

 claim for unjust enrichment on behalf of the 2012-2014 Banquet Servers. Finally, the Court will

 accept further briefing regarding the validity of 29 C.F.R. § 531.52 insofar as it pertains to the

 unjust enrichment claim on behalf of the post-January 2014 Banquet Servers. Plaintiffs have ten

 days from the date of this Order to respond to defendants’ arguments that 29 C.F.R. § 531.52 is

 invalid. Defendants will have seven days thereafter to file a reply.

        IT IS SO ORDERED.



                                        /s/ Patricia A. Gaughan
                                        PATRICIA A. GAUGHAN
                                        United States District Judge

 Dated: 4/4/16




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